        Case 4:14-cv-00056-BMM Document 73 Filed 03/27/17 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION


RHETT CRANTZ, Individually, as           CV 14-56-GF-BMM-JTJ
Personal Representative of the Estate of
Venus Crantz, and as Guardian of Marina
Crantz, Marley Crantz, McKenzy Crantz, ORDER
and Maisen Crantz,

            Plaintiff,
     vs.

UNITED STATES OF AMERICA,

            Defendant.



      Upon consideration of the United States’ unopposed motion to clarify the

Court’s monetary award to the Plaintiff (Doc. 72), and good cause being shown by

the moving party,

      IT IS HEREBY ORDERED that the United States’ motion is GRANTED.

The Court clarifies that the sum of $253,802.00 plus Plaintiff’s costs is the

monetary award granted to the Plaintiff in the Findings of Fact, Conclusions of

Law and Order and Judgment dated January 13, 2017 (Docs. 68 and 69.) Costs in

                                       1
        Case 4:14-cv-00056-BMM Document 73 Filed 03/27/17 Page 2 of 2



the amount of $3,583.11 were taxed by the Court. (Doc. 71.) The resulting total

sum of $257,385.11 represents the monetary judgment entered in favor of the

Plaintiff and against the Defendant, United States, in this case.

      DATED this 27th day of March, 2017.




                                        2
